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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

 UNITED STATES OF AMERICA,                           CR 15-32-M-DWM
                      Plaintiff,
                                                           ORDER
        vs.


 ERIC DANIEL DOYLE,

                      Defendant.




      On December 12, 2017, Defendant Eric Doyle appeared before the Court for

a hearing on the issue of his release or detention pending further proceedings in

this matter. Having considered the testimony presented, the record before the

Court, and the parties’ arguments, the Court finds, by a preponderance of the

evidence, that Defendant poses a risk of flight.

      The Court has authority to detain a criminal defendant pending a trial in the

matter if the Court “finds that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any

other person and the community[.]” 18 U.S.C. § 3142(e). The facts on which the

Court relies to support the referenced finding under § 3142(e) with respect to the


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safety of any other person and the community must be supported by clear and

convincing evidence. 18 U.S.C. § 3142(f)(2). The standard of proof necessary to

support a finding that no conditions will reasonably ensure the defendant’s

appearance, however, is the preponderance of the evidence standard. United

States v. Aitken, 898 F.2d 104, 107 (9th Cir. 1990).

      Defendant has a somewhat extensive criminal history with three felony

convictions. Although the convictions are relatively stale in time, in view of the

mandatory minimum term of imprisonment he now faces if he is convicted on the

present charges, his criminal history could subject him to a significant term of

incarceration.

      The record in this case also reflects that Defendant traveled to Mexico

shortly after becoming aware that a criminal investigation of him had commenced

relative to the charges in the Indictment filed in this matter. And testimony from a

Deputy United States Marshal presented at the hearing, together with the

unavailability of Defendant’s passport for inspection, suggest Defendant may have

entered Mexico illegally. Thus, the preponderance of the evidence presently

before the Court gives rise to a concern about Defendant’s risk of flight.

      Thus, the Court finds the United States has sustained its burden of

demonstrating, by a preponderance of the evidence, that no set of conditions could

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be imposed on Defendant that would assure his appearance in Court as required.

Therefore, pursuant to 18 U.S.C. § 3142(e) IT IS HEREBY ORDERED the

Defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody

pending appeal. The Defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel. On order of a court of the United States

or on request of an attorney for the Government, the person in charge of the

corrections facility shall deliver the Defendant to the United States Marshal for the

purpose of an appearance in connection with a court proceeding.

      DATED this 12th day of December, 2017.



                                              Jeremiah C. Lynch
                                              United States Magistrate Judge




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